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                               United States District Court
                               For the District of Columbia

 True the Vote, Inc.;
                                               Plaintiff,
        v.
                                                            Civil Case No. 1:13-cv-000734-RBW
 Internal Revenue Service, et al.;
                                            Defendants.


                        Notice of Compliance with Court Order

       Pursuant to this Court’s Minute Orders of November 17, 2020, and December 8, 2020,

Plaintiff True the Vote, Inc. submits to the public docket redacted versions of the following

documents, previously filed under seal:

       1.      Plaintiff’s Motion to Quash PILF’s and Foley’s Attorney’s Charging Lien, ECF
               No. 190;
       2.      Memorandum of Points and Authorities in Support of Plaintiff’s Motion to Quash
               PILF’s and Foley’s Attorney’s Charging Lien, ECF No. 190-1;
       3.      Governing Agreement, ECF No. 190-2;
       4.      Termination Letter, ECF No. 190-3;
       5.      PILF Agreement, ECF No. 190-4;
       6.      Foley Agreement, ECF No. 190-5;
       7.      BLF Agreement, ECF No. 190-6;
       8.      Reply in Support of Plaintiff’s Motion to Quash PILF’s and Foley’s Attorney’s
               Charging Lien, ECF No. 198-1.


       The various agreements at issue in Former Attorneys’ Charging Lien contain

confidentiality provisions or are otherwise governed by the attorneys’ professional duty to

maintain client confidentiality. TTV, after consultation with PILF’s counsel, agrees that the

various agreements should be redacted in their entirety. In a good faith effort to comply with this



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Court’s orders, TTV has redacted from its briefing references to specific provisions of the

various agreements and more general references that summarize these specific provisions.




October 21, 2020                                     Respectfully submitted,

                                                     /s/ James Bopp, Jr.

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